     Case 2:22-cv-00272-TOR       ECF No. 154    filed 05/16/25    PageID.3903     Page 1
                                            of 2



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 5                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 6

 7    FAYE IRENE GUENTHER, an
      individual,                                  NO. 2:22-CV-0272-TOR
 8
                                Plaintiffs,        ORDER DENYING MOTION FOR
 9                                                 RECONSIDERATION
             v.
10
      JOSEPH H. EMMONS, individually,
11    and OSPREY FIELD CONSULTING
      LLC, a limited liability company,
12
                                Defendant.
13

14         BEFORE THE COURT is Defendants’ Motions for to Reconsider Order

15   Denying Attorneys’ Fees. ECF No. 152. This matter was submitted for

16   consideration without oral argument. The Court has reviewed the record and files

17   herein and is fully informed. For the reasons discussed below, Defendants’ Motion

18   is DENIED.

19         “Reconsideration is appropriate if the district court (1) is presented with

20   newly discovered evidence, (2) committed clear error or the initial decision was



        ORDER DENYING MOTION FOR RECONSIDERATION ~ 1
     Case 2:22-cv-00272-TOR       ECF No. 154    filed 05/16/25     PageID.3904    Page 2
                                            of 2



 1   manifestly unjust, or (3) if there is an intervening change in controlling law.” Sch.

 2   Dist. No. 1J v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993); United Nat. Ins.

 3   Co. v. Spectrum Worldwide, Inc., 555 F.3d 772, 780 (9th Cir. 2009) (citation

 4   omitted). Whether to grant a motion for reconsideration is within the sound

 5   discretion of the court. Navajo Nation v. Confederated Tribes and Bands of the

 6   Yakima Nation, 331 F.3d 1041, 1046 (9th Cir. 2003).

 7         Because Plaintiff sought damages in excess of $10,000, this case is not

 8   subject to the attorney fee statutes applicable to small claims.

 9         For all the reasons the Court expressed in its original order denying attorney

10   fees, ECF No. 150, the motion is denied.

11   ACCORDINGLY, IT IS HEREBY ORDERED:

12             Defendants’ Motions for to Reconsider Order Denying Attorneys’ Fees,

13             ECF No. 152, is DENIED.

14         The District Court Executive is directed to enter this Order. The file remains

15   CLOSED.

16         DATED May 16, 2025.

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18                                   THOMAS O. RICE
                                  United States District Judge
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        ORDER DENYING MOTION FOR RECONSIDERATION ~ 2
